                                   UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION
In re:      Scott A Westfall                                       ) Case No. 14‐17385‐aih
            Karen M Westfall                                       ) Chapter 13 Proceedings
               Debtors                                             ) Judge Arthur I. Harris


                             TRUSTEE’S NOTICE OF FINAL CURE PAYMENT
  LAUREN A. HELBLING, Chapter 13 Trustee files notice that the amount required to cure the default in
the below described claim has been paid in full.

Claim Information

 Creditor: Us Bank Trust
 Proof of Claim number on Bankruptcy Court’s registry:                         25
 Last 4 digits of number used to identify Debtor’s account:                    3636
Trustee Payment Information
  Prepetition Mortgage Arrearage
         Amount Stated in Proof of Claim:                  $3,896.31

         Amount Paid by Trustee:                           $3,896.31
 Ongoing Mortgage Payments
          X Paid by the Trustee through the bankruptcy plan
                i. Total paid to date by the Trustee: $85,188.76
                  ii. A mortgage payment was mailed by the Trustee on June 7, 2019
                       in the amount of $1,640.15 for the payment due May 1, 2019
                  iii. A closing letter will be sent to all parties indicating when the debtor(s) should begin
                       making their mortgage payments directly to the mortgage company.
             Paid direct by the Debtor


  Pursuant to Federal Bankruptcy Rule 3002.1(g), within 21 days of the service of this Notice, the creditor shall file and serve on
the Debtor, Debtor's counsel and Trustee a statement (1) indicating whether it agrees that the Debtor has paid in full the
amount required to cure the default on the claim, and (2) whether the Debtor is otherwise current on all payments consistent
with Section 1322(b)(5) of the Bankruptcy Code. The statement shall itemize the required cure and/or post‐petition amounts, if
any, that the creditor contends remain unpaid as of the date of the statement.

                                                             /S/ Lauren A. Helbling
                                                             LAUREN A. HELBLING (#0038934)
                                                             Chapter 13 Trustee
                                                             200 Public Square, Suite 3860
                                                             Cleveland OH 44114‐2321
                                                             Phone (216) 621‐4268        Fax (216) 621‐4806
                                                             Ch13trustee@ch13cleve.com



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                                          CERTIFICATE OF SERVICE

I certify that on June 14, 2019, a true and correct copy of this Notice of Final Cure Payment was served:

Via the Court's Electronic Case Filing System on these entities and individuals who are listed on the
Court's Electronic Mail Notice List:

        Debra E. Booher, on behalf of Scott A Westfall & Karen M Westfall, Debtors, at
        charlotte@bankruptcyinfo.com

And by regular U.S. mail, postage prepaid, on:

        Scott A Westfall & Karen M Westfall, Debtors, at 3060 Stoney Creek Drive, North Royalton, Oh
        44133

        Us Bank Trust, at C/O BSI FINANCIAL SERVICES, P O Box 679002, Dallas, TX 75267‐9002

        Us Bank Trust NA, at C/O BSI Financial Services, 1425 greenway Dr #400, Irving, TX 75038

        Edward J. Boll III / Rachel K. Pearson Esq., at C/O Lerner Sampson & Rothfuss, P O Box 5480,
        Cincinnati, OH 45201

        Adam B. Hall Esq., at C/O Manley Deas Kochalski, P O Box 165028, Columbus, OH 43216‐5028




                                                    /S/ Lauren A. Helbling
                                                    LAUREN A. HELBLING (#0038934)
                                                    Chapter 13 Trustee
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